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8
                           UNITED STATES DISTRICT COURT
9
                         CENTRAL DISTRICT OF CALIFORNIA
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     HERA PRINT, INC., a California                Case No.:
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     corporation,
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                                                      1. Copyright Infringement;
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     Plaintiff,                                       2. Vicarious and/or
                                                         Contributory Copyright
14   v.                                                  Infringement
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     HONGKONG JIGAO INFORMATION &
16   TECHNOLOGY CO., LTD., d/b/a ChicMe, a           Jury Trial Demanded
17   Hong Kong limited company; WALMART,
     INC., a Delaware corporation; and DOES 1
18   through 10,
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     Defendants.
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                                       COMPLAINT
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1           Plaintiff, HERA PRINT, INC. (“Hera” or “Plaintiff”), by and through its
2    undersigned attorneys, complains and alleges against Defendants as follows:
3                                      NATURE OF ACTION
4           1. Plaintiff seeks injunctive relief and damages stemming from Defendants’,
5    HONGKONG JIGAO INFORMATION & TECHNOLOGY CO., LTD., d/b/a
6    ChicMe (“ChicMe”), WALMART INC. (“Walmart”), and DOES 1-10 (collectively
7    “Defendants”), acts of copyright infringement in violation of the laws of the United
8    States of America.
9                                  JURISDICTION AND VENUE
10          2. This action arises under the Copyright Act of 1976, Title 17 U.S.C., § 101 et
11   seq.
12          3. This Court has federal question jurisdiction under 28 U.S.C. § 1331 and 1338
13   (a) and (b).
14          4. The Court has personal jurisdiction over Defendants and each of them
15   because Defendants have purposefully directed their unlawful conduct to this judicial
16   district and have conducted substantial business in this judicial district.
17          5. Venue is proper under 28 U.S.C. § 1391(c) and 1400(a) in that this is the
18   judicial district in which a substantial part of the acts and omissions giving rise to the
19   claims occurred. Venue and personal jurisdiction may also be appropriate under Fed.
20   R. Civ. P. 4(k)(2).
21                                          PARTIES
22          6. Plaintiff Hera Print, Inc. is a corporation organized and existing under the
23   laws of the State of California with its principal place of business in California.
24          7. Plaintiff is informed and believes and thereon alleges that Defendant
25   ChicMe is a Hong Kong limited company with its primary place of business located
26   at Unit 1010-1015 10/F Tower B, New Mandarin Plaza Tsim Sha Tsui East KL,
27   Hong Kong, and is the owner of the website https://www.chicme.com/.
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                                            COMPLAINT
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1          8. Plaintiff is informed and believes and thereon alleges that Defendant
2    Walmart is a corporation organized and existing under the laws of the State of
3    Delaware with its principal place of business located at 702 SW 8th Street,
4    Bentonville, Arkansas 72716 and is doing business in and with the State of
5    California.
6          9. Plaintiff is informed and believes and thereon alleges that Defendants
7    DOES 1 through 10, inclusive (collectively with ChicMe and Walmart,
8    “Defendants”), are other parties not yet identified who have infringed Plaintiff’s
9    copyrights, have contributed to the infringement of Plaintiff’s copyrights, or have
10   engaged in one or more of the wrongful practices alleged herein. The true names,
11   whether corporate, individual or otherwise, of Defendants 1 through 10, inclusive,
12   are presently unknown to Plaintiff, which therefore sues said Defendants by such
13   fictitious names, and will seek leave to amend this Complaint to show their true
14   names and capacities when same have been ascertained.
15         10. Plaintiff is informed and believes and thereon alleges that at all times
16   relevant hereto each of the Defendants was the agent, affiliate, officer, director,
17   manager, principal, alter-ego, and/or employee of the remaining Defendants and was
18   at all times acting within the scope of such agency, affiliation, alter-ego relationship
19   and/or employment; and actively participated in or subsequently ratified and/or
20   adopted each of the acts or conduct alleged, with full knowledge of all the facts and
21   circumstances, including, but not limited to, full knowledge of each violation of
22   Plaintiff’s rights and the damages to Plaintiff proximately caused thereby.
23                      CLAIMS RELATED TO DESIGN HE-3849
24         11. Prior to the conduct complained of herein, Plaintiff composed an original
25   two-dimensional artwork for purposes of textile printing. It allocated this design the
26   name HE-3849 (hereinafter “Subject Design”). This artwork was a creation of
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                                            COMPLAINT
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1    Plaintiff and Plaintiff’s design team, and is, and at all relevant times, was owned
2    exclusively by Plaintiff.
3          12. Plaintiff applied for and received a United States Copyright Registration
4    for the Subject Design with the number VAu001382141.
5          13. Prior to the acts complained of herein, Plaintiff sampled and sold fabric
6    bearing Subject Design to numerous parties in the fashion and apparel industries.
7          14. Following this distribution of product bearing the Subject Design,
8    Plaintiff’s investigation revealed that certain entities within the fashion and apparel
9    industries had misappropriated the Subject Design, and were selling fabric and
10   garments bearing illegal reproductions and derivations of the Subject Design.
11         15. Plaintiff is informed and believes and thereon alleges that, following this
12   distribution of fabric bearing Subject Design, ChicMe, and certain DOE Defendants
13   created, sold, manufactured, caused to be manufactured, imported and/or distributed
14   fabric and/or garments comprised of fabric bearing an unauthorized reproduction of
15   Subject Design (“Subject Product.”)
16         16. Plaintiff is informed and believes and thereon alleges that ChicMe sold
17   Subject Product to the public on the website https://www.chicme.com/.
18         17. Plaintiff is informed and believes and thereon alleges that Defendants, and
19   each of them, have committed copyright infringement with actual or constructive
20   knowledge of Plaintiff’s rights and/or in blatant disregard for Plaintiff’s rights, such
21   that said acts of copyright infringement were, and continue to be, willful, intentional
22   and malicious, subjecting Defendants, and each of them, to liability for statutory
23   damages under Section 504(c)(2) of the Copyright Act in the sum of up to one
24   hundred fifty thousand dollars ($150,000) per infringement.
25         18. A comparison of Subject Design (left) and a non-exclusive exemplar of
26   Subject Product (right) is set forth below; it is apparent that the elements,
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                                            COMPLAINT
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1    composition, colors, arrangement, layout, and appearance of the designs are
2    substantially similar:
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4                  Subject Design                     Subject Product Exemplar
5                                                               Detail:
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11                                                             Garment:
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                                          COMPLAINT
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2                                                        Garment:
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11                                                        Detail:
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17                                                       Garment:
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                                      COMPLAINT
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1                                                         Detail:
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7                                                        Garment:
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                                      COMPLAINT
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1                                                                Garment:
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11                              FIRST CLAIM FOR RELIEF
12            (For Copyright Infringement - Against All Defendants, and Each)
13        19. Plaintiff repeats, realleges and incorporates herein by reference as though
14   fully set forth the allegations contained in the preceding paragraphs of this
15   Complaint.
16        20. Plaintiff is informed and believes and thereon alleges that Defendants, and
17   each of them, had access to the Subject Design, including, without limitation,
18   through (a) access to Plaintiff’s showroom and/or design library; (b) access to
19   illegally distributed copies of the Subject Design by third-party vendors and/or DOE
20   Defendants, including without limitation international and/or overseas converters
21   and printing mills; (c) access to Plaintiff’s strike-offs and samples, and (d) garments
22   manufactured and sold to the public bearing fabric lawfully printed with the Subject
23   Design by Plaintiff for its customers.
24        21. Plaintiff is informed and believes and thereon alleges that one or more of
25   the Defendants manufactures garments and/or is a garment vendor. Plaintiff is
26   further informed and believes and thereon alleges that said Defendant(s) has an
27   ongoing business relationship with Defendant retailer, and each of them, and
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                                              COMPLAINT
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1    supplied garments to said retailer, which garments infringed the Subject Design in
2    that said garments were composed of fabric which featured unauthorized print
3    design(s) that were identical or substantially similar to the Subject Design, or were
4    an illegal derivation or modification thereof.
5          22. Plaintiff is informed and believes and thereon alleges that Defendants, and
6    each of them, infringed Plaintiff’s copyrights by creating, making, and/or developing
7    directly infringing and/or derivative works from the Subject Design and by
8    producing, distributing and/or selling garments which infringe the Subject Design
9    through a nationwide network of retail stores, catalogues, and through on-line
10   websites.
11         23. Due to Defendants’ acts of infringement, Plaintiff has suffered substantial
12   damages to its business in an amount to be established at trial.
13         24. Due to Defendants’ acts of infringement, Plaintiff has suffered general and
14   special damages in an amount to be established at trial.
15         25. Due to Defendants’ acts of copyright infringement as alleged herein,
16   Defendants, and each of them, have obtained direct and indirect profits they would
17   not otherwise have realized but for their infringement of the Subject Design. As
18   such, Plaintiff is entitled to disgorgement of Defendant’s profits directly and
19   indirectly attributable to Defendant’s infringement of the Subject Design in an
20   amount to be established at trial.
21         26. Plaintiff is informed and believes and thereon alleges that Defendants, and
22   each of them, have committed acts of copyright infringement, as alleged above,
23   which were willful, intentional and malicious, which further subjects Defendants,
24   and each of them, to liability for statutory damages under Section 504(c)(2) of the
25   Copyright Act in the sum of up to one hundred fifty thousand dollars ($150,000.00)
26   per infringement. Within the time permitted by law, Plaintiff will make its election
27   between actual damages and statutory damages.
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                                            COMPLAINT
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 1                                  SECOND CLAIM FOR RELIEF
 2               (For Vicarious and/or Contributory Copyright Infringement – Against all
 3                                         Defendants, and Each)
 4            27. Plaintiff repeats, re-alleges, and incorporates herein by reference as though
 5   fully set forth, the allegations contained in the preceding paragraphs.
 6            28. Plaintiff is informed and believes and thereon alleges that Defendants
 7   knowingly induced, participated in, aided and abetted in and profited from the illegal
 8   reproduction and/or subsequent sales of garments featuring the Subject Design as
 9   alleged herein.
10            29. Plaintiff is informed and believes and thereon alleges that Defendants, and
11   each of them, are vicariously liable for the infringement alleged herein because they
12   had the right and ability to supervise the infringing conduct and because they had a
13   direct financial interest in the infringing conduct.
14            30. By reason of the Defendants’, and each of their acts of contributory and
15   vicarious infringement as alleged above, Plaintiff has suffered and will continue to
16   suffer substantial damages to its business in an amount to be established at trial, as
17   well as additional general and special damages in an amount to be established at
18   trial.
19            31. Due to Defendants’, and each of their acts of copyright infringement as
20   alleged herein, Defendants, and each of them, have obtained direct and indirect
21   profits they would not otherwise have realized but for their infringement of the
22   Subject Design. As such, Plaintiff is entitled to disgorgement of Defendants’ profits
23   directly and indirectly attributable to Defendants’ infringement of the Subject
24   Design, in an amount to be established at trial.
25            32. Plaintiff is informed and believes and thereon alleges that Defendants, and
26   each of them, have committed acts of copyright infringement, as alleged above,
27   which were willful, intentional and malicious, which further subjects Defendants,
28                                                10
                                              COMPLAINT
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 1   and each of them, to liability for statutory damages under Section 504(c)(2) of the
 2   Copyright Act in the sum of up to one hundred fifty thousand dollars ($150,000.00)
 3   per infringement. Within the time permitted by law, Plaintiff will make its election
 4   between actual damages and statutory damages.
 5                                    PRAYER FOR RELIEF
 6        Wherefore, Plaintiff prays for judgment as follows:
 7            a. That Defendants, their agents and employees be enjoined from
 8               infringing Plaintiff’s copyrights in any manner, specifically those for the
 9               Subject Design;
10            b. That Plaintiff be awarded all profits of Defendants plus all losses of
11               Plaintiff, plus any other monetary advantage gained by the Defendants
12               through their infringement, the exact sum to be proven at the time of
13               trial, or, if elected before final judgment, statutory damages as available
14               under the Copyright Act, 17 U.S.C. § 101 et seq.;
15            c. That a trust be imposed over the revenues derived by Defendants, and
16               each of them, through the sales or distribution of the product at issue;
17            d. That Plaintiff be awarded its attorneys’ fees as available under the
18               Copyright Act U.S.C. § 101 et seq.;
19            e. That Defendants, and each of them, account to Plaintiff for their profits
20               and any damages sustained by Plaintiff arising from the foregoing acts
21               of infringement;
22            f. That Plaintiff be awarded pre-judgment interest as allowed by law;
23            g. That Plaintiff be awarded the costs of this action; and
24            h. That Plaintiff be awarded such further legal and equitable relief as the
25               Court deems proper.
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                                           COMPLAINT
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 1                                            JURY DEMAND
 2         Plaintiff demands a jury trial on all issues so triable pursuant to Fed. R. Civ. P.
 3   38 and the 7th Amendment to the United States Constitution.
 4
     Dated: September 8, 2022
 5

 6
                                            By:      ___________________
                                                     Trevor W. Barrett, Esq.
 7                                                   Scott Alan Burroughs, Esq.
 8
                                                     DONIGER / BURROUGHS
                                                     Attorneys for Plaintiff
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